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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                            Plaintiff,

              v.                                                12-CR-101A

CALVIN YOUNG, et al.

                     Defendant.
_____________________________________

                     REPORT, RECOMMENDATION AND ORDER

              This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. § 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions. Dkt. #6.



                              PRELIMINARY STATEMENT

              The defendant, Calvin Young (“Young”), along with seven others, is

charged in a one-count, Superseding Indictment (Dkt. #10) with conspiracy to possess

with intent to distribute and to distribute 5 kilograms or more of cocaine. The

defendants also face a forfeiture allegation. Presently pending are Young’s motion

claiming that his arrest was without probable cause and a motion to suppress electronic

eavesdropping evidence. Dkt. #51. This Court’s Decision and Order on defendant

Young’s non-dispositive discovery motions was filed separately. What follows is this

Court’s Report, Recommendation and Order addressing defendant Young’s motion

relating to his arrest and his motion to suppress.
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                             DISCUSSION AND ANALYSIS

              The defendant has filed a bare bones motion seeking, the suppression of

his arrest on the grounds that neither a valid arrest warrant nor a valid search warrant

had been issued and the suppression of wiretap or electronic eavesdropping evidence.

Dkt. #51, pp.37-38. In support of his assertion that neither a valid arrest warrant nor a

valid search warrant had been issued, the defendant simply offers the following

conclusory statements,

              1. The allegations contained in this section are made on
              information and belief, the basis for such belief being
              conversations with the defendant and court and office
              reports.

              2. The defendant was arrested.

              3. No legally valid arrest warrant or search warrant had been
              issued that was based on proper probable cause.

              4. At the time of the stop, the defendant was not committing
              any criminal acts.

              5. The defendant denies any involvement that would
              constitute any acts consisting of narcotics trafficking, gun
              trafficking, gun possession, conspiracy or racketeering.

              6. The defendant denies that he was committing any crimes.

              7. The search and seizure of the defendant were in violation
              of defendant’s rights as protected by the Fourth Amendment
              of the United States Constitution.

Dkt. #51, p.37. In its response, the government states, that the defendant has been

provided with a search warrant issued by the Court. Dkt. #55, p.22. Moreover, the

government states, “[t]he government contends that defendant’s counsel’s assertion is

insufficient to establish a cognizable claim of standing.” Id. at p.23.


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              Purportedly seeking suppression of wiretap/electronic eavesdropping, the

defendant states,

              The prosecution has not supplied defendant with any
              statements that were allegedly made by either the defendant
              or other co-conspirators involving telephone conversations
              that were obtained through wiretaps. If there are
              wiretaps/warrants for wiretaps, it is respectfully submitted
              that the defendant have the ability to review and file
              supplemental motions to address any suppression issues
              involving wiretaps.

Dkt. #51, p.38. In its response, the government states, “the government is unaware of

the basis for defendant’s assertion as to existence of any wiretap. This case, at

present, involves no wiretap evidence.” Dkt. #55, p.23.



              With respect to his motion concerning the search warrant, defendant

Young failed to support his motion with a personal affidavit setting forth facts and/or

circumstances that would warrant the granting of the motion. Since the defendant has

failed to “create a dispute over any material fact,” there is no requirement that the Court

hold a hearing on his motion to suppress. Furthermore, the government’s

uncontradicted response, refutes the defendant’s claim for suppression of evidence.

Therefore, it is recommended that defendant’s motion to suppress be denied. With

respect to defendant’s motion concerning the suppression of wiretap/electronic

eavesdropping evidence, based on the government’s representation that this case

involves no wiretap evidence, there is no basis for this Court to hold a hearing on that

motion to suppress. Therefore, it is recommended that defendant’s motion to suppress

wiretap/electronic eavesdropping evidence be denied.


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               It is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



               This Report, Recommendation and Order be filed with the Clerk of the

Court.



               ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within fourteen (14) days after receipt of a copy of this

Report, Recommendation and Order in accordance with the above statute,

Fed.R.Crim.P. 58(g)(2) and Local Rule 58.2.



               The district judge will ordinarily refuse to consider de novo, arguments,

case law and/or evidentiary material which could have been, but were not presented to

the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

Failure to file objections within the specified time or to request an extension of

such time waives the right to appeal the District Judge's Order. Thomas v. Arn,

474 U.S. 140 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir.

1988).



               The parties are reminded that, pursuant to Rule 58.2 of the Local Rules

for the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made



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and the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of

Rule 58.2 (concerning objections to a Magistrate Judge's Report,

Recommendation and Order), may result in the District Judge's refusal to

consider the objection.



DATED:       Buffalo, New York
             January 23, 2013


                                         s/ H. Kenneth Schroeder, Jr.
                                         H. KENNETH SCHROEDER, JR.
                                         United States Magistrate Judge




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